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                                      DEPARTMENT OF THE AIR FORCE
                                                AIR UNIVERSITY (AETC)



                                                                                               13 Sep 21

MEMORANDUM FOR RECORD

FROM: AU Det 1/CCQ

SUBJECT: Immunization Waiver Counseling – 2Lt Hunter Doster

1. The subject member requested an administrative waiver for the mandate to receive a vaccine against
the Corona Virus Disease 2019 (COVID-19). The first step in this process is for the unit Commander
to counsel the member on the implications and potential challenges regarding the request.

2. Per Department of the Air Force Instruction (DAFI) 52-201, Religious Freedom in the Department of
the Air Force, dated 23 Jun 20, I counseled the member on the following items:

a. Readiness for deployment

b. Readiness for assignment (including Developmental Education and Command opportunities)

c. Readiness for international travel (official and unofficial travel)

3. For questions regarding this counseling, contact me at 937-503-2783 or don.salvatore@afit.edu.




                                                       DON R. SALVATORE, Lt Col, USAF
                                                       Section Commander, AU Det 1

Member Acknowledgement:



                                                       ________________________________
                                                       Member Signature
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                                 DEPARTMENT OF THE AIR FORCE
                                          AIR UNIVERSITY (AETC)



                                                                                18 January 2022

MEMORANDUM FOR AF/SG (Lt Gen Robert I. Miller)


FROM: Hunter G. Doster, 2d Lt, USAF
      AFIT/ENG
      2950 Hobson Way
      Wright-Patterson AFB OH 45433

SUBJECT: Appeal of Religious Accommodation Request for Immunization

Reference: (a) AFI 48-110_IP 7 September 2021, Immunizations and Chemoprophylaxis for
           prevention of Infectious Disease
           (b) DAFI 52-102 23 June 2021, Religious Freedom in the Department of the Air
           Force
Sir:

   1. I respectfully request an appeal for a waiver of the immunization requirements directed
      by Air Force Instruction (AFI) 48-110_IP, Immunizations and Chemoprophylaxis for
      Prevention of Infectious Disease, to be exempt from receiving any COVID-19
      Vaccinations. This request is based on my religious and personal beliefs, which conflict
      with the requirement.

          a)   My DOD ID number is            2638
          b)   My Specialty Code is 62E1C
          c)   My unit of assignment is AFIT/ENG
          d)   My faith group of preference is Christian

   2. This request is an appeal in response to the denial of my religious accommodation request
      for the COVID-19 Immunization mandate. I want to preface that the preparation of this
      appeal was made under significantly difficult circumstances. The Air Force was given 4
      months to make their decision, and I am only afforded 7 days after a 48 hour extension to
      tender the appeal. I was not allowed access to the documents in my package which were
      used by the AETC commander to make their decision. Without these documents, this
      appeal is made with inadequate references.

   3. The request is based on the burden this vaccine will cause on the ability to exercise my
      religious beliefs as a Born-Again Christian. I am a Christian, and I believe that Jesus
      Christ died on the cross to redeem my soul, and in so doing established a new covenant
      between God and man. This new covenant, outlined in the Old and New Testament of
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        the Bible, established many moral and spiritual principles that I must live by as a follower
        of Christ. Two foundational components of this New Covenant are that all life is created
        by God and is therefore sacred and that I am the Temple of the Lord because God’s
        Spirit, The Holy Spirit, dwells in me. Due to these bedrock principles of my faith, I
        cannot in good conscience take the currently available COVID-19 Vaccinations because
        of their ties with aborted fetal tissue. I believe abortion is evil, and I have been charged
        by God to stand up against any evil such as abortion. God charges me to take care of my
        temple, so the ability to control what goes in and out of my body is essential to the
        practice of my beliefs. I cannot allow myself to benefit from an abortion. I understand
        that every vaccine currently on the market involves the use of these fetal cells either in
        testing, or production. Therefore, receiving these immunizations will severely burden the
        ability to exercise my beliefs. In short, the COVID-19 immunization mandate does not
        allow me to freely and openly worship my God with my life and body (see Attachment
        1). Although my denial affirms my beliefs are sincerely held (see Attachments 2 and 3),
        the request was denied due to military readiness, good order and discipline, and health
        and safety.

     4. The denial (Attachment 2) states, “First, the Air Force’s compelling government interest
        outweighs your individual belief and no lesser means satisfy the government’s interest.”
        Contrary to this premise, as of 03 January 2022 (see attachment 4), the Air Force has
        approved 1,792 medical waivers and 2,177 administrative waivers. This statistic
        demonstrates the Air Force can achieve the compelling government interests with
        approved COVID-19 Immunization waivers. This same document reveals a total force
        vaccination rate of 95.6%. Therefore, readiness is achievable under a COVID-19
        Immunization waiver approval.

     5. As reflected in attachment 6, I have previously been infected with COVID-19, and, as a
        consequence, have documented antibodies. Existing and emerging medical literature
        suggests robust and potentially long-lasting natural immunity from these types of
        infections and with these antibodies.1 If requested, I would be happy to obtain a follow
        up antibody test to demonstrate current antibodies and immunity. And, while I
        understand a preference for vaccination, and wish that there were current vaccines
        available that were consistent with my beliefs, the prior infection and natural immunity
        does suggest meeting the interests proffered by the Air Force for the vaccination
        mandate.

     6. The DAFI 52-201 Section 2.4 states, “Any restriction on the expression of sincerely held
        beliefs must use the least restrictive means with respect to the applicant to achieve the
        compelling governmental interest.” By granting medical and administrative exemptions,
        the Air Force demonstrates there is a less restrictive means other than denial of my
        requested accommodation to accommodate my sincerely held beliefs.


1
 https://www.nejm.org/doi/full/10.1056/NEJMc2110300 (last visited 1/14/2022); Recent press releases from the
European Medicines Agency (EMA) suggests concern over the need for multiple boosters, and recent research
showing omicron infection conferring natural immunity, https://www.rfi.fr/en/europe/20220112-omicron-could-
offer-natural-covid-immunity-without-need-for-boosters-says-ema (last visited 1/14/2022).
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 7. Even a temporary approval, for as long as I am able to demonstrate current antibodies, is
    less restrictive than denial. By granting temporary exemptions due to pregnancy or
    recent COVID infection (which itself recognizes that concept of natural immunity), the
    Air Force demonstrates it can achieve the government compelling interests with
    temporary exemptions.

 8. The denial states, “In your particular position, Masters Student at Air Force Institute of
    Technology, you will soon complete your coursework and will be transferring to the Air
    Force Research Laboratory where you will be required to interact with staff in-person.
    As such, there is a compelling government interest for you to receive the vaccine.”
    While at AFIT, I am non-deployable and all classes and research are achievable virtually.
    I graduate March 24, 2022 so a least restrictive means would include a temporary
    exemption approval until I am no longer at AFIT. In demonstrating temporary
    exemptions for medical reasons, the Air Force is able to achieve its interest with a
    temporary exemption in this case. Therefore, at a minimum a temporary exemption for
    my duration at AFIT would be less restrictive than a denial.

 9. The DAFI 52-201 Section 2.7 states, “If after thorough analysis of the above factors, the
    religious accommodation of Airmen or Guardian cannot be met, administrative actions
    that may be considered include reassignment, reclassification…”. In demonstrating
    readiness is achievable at AFIT during this time, the least restrictive means would include
    reassignment or reclassification to a work environment such as AFIT where readiness
    was achievable under COVID restrictions. Also, the fluidity of the COVID situation
    provides evidence for a potential future solution to achieve readiness while at AFRL.
    There are new remedies being developed which may satisfy my religious beliefs and
    meet the Air Force’s stated interest’s. Therefore, a new solution to better achieve military
    readiness may arise before I am transferred there in a few months, so a temporary
    approval would be another means to achieve the least restrictive accommodation for my
    religious beliefs.

 10. The denial states, “An exemption will create the perception of favoritism, detracting from
     good order and discipline. In demonstrating the 1,792 medical waivers and 2,177
     administrative waivers, the Air Force has demonstrated that there is no perception of
     favoritism at work, and further shows good order and discipline is achievable with
     COVID-19 Immunization waivers. One might also observe that there is no statutory (or
     Constitutional) protections regarding these administrative or medical waivers, but such
     protections do exist for religious waivers. And the blanket denial of every religious
     waiver submitted so far, with the granting of medical and religious waivers, can easily be
     argued to be hostility towards religion.

 11. The denial states, “For the past 18 months, the Air Education and Training Command
     fought through the COVID pandemic by implementing several extreme measures and
     processes to ensure the health, safety and welfare of our Airmen. These measures
     included maximum telework, workplace occupancy limitations, extreme adjustments to
     Basic Military Training to include multiple training sites and modified training, and
     remote learning for most Professional Military Education to name just a few actions.
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      Similar measures for the medical community included telehealth consultations and
      reduced in-person appointments. Despite these efforts, the Air Force remained in this
      posture until vaccinations became available and administered, and only then did our
      pandemic numbers begin to decrease. Continuing to implement these drastic measures
      detracts from the readiness, efficiency and good order and discipline of the force, and is
      unsustainable as the long-term solution.” Over a year after the vaccines were made
      available to the public and with over 97 % of the Active-Duty Air Force Vaccinated,
      Wright-Patterson AFB where my current and next duty stations (AFIT then AFRL) are, is
      still under HPCON Delta with 15 % capacity (see attachment 5). The move to HPCON
      Delta shows the high vaccination status does not improve the COVID Protocols
      implemented over the pandemic. This exemption request should be approved under least
      restrictive means because the vaccine has not improved the COVID workplace operating
      procedures.

   12. The denial states, “Finally, failure to receive the vaccine increases the risk to your
       personal health and safety and that of those around you.” As previously documented, I
       have natural immunity from the COVID virus, and I have a genetic mutation which
       makes me more susceptible to blood clots (See attachments 6, 7, and 8). Taking the
       vaccine has the potential to impose more risk to my personal health than benefit due to
       my genetic mutation which makes me more susceptible to blood clots. The rise of the
       omicron variant shows that transmission among the vaccinated are frequent. Given I have
       natural immunity and the vaccinated spread the virus considerably and the transmission
       of the virus among vaccinated has increased with new variants and this trend is likely to
       continue, I am no more a risk to those around me than those with the COVID-19
       vaccination.

   13. The denial states, “Lesser means to accomplish the government’s compelling interest are
       insufficient. You cannot achieve your duty objectives at the Air Force Research
       Laboratory via telework or social distancing. As a junior officer, hands-on supervision
       and guidance from your leadership is also necessary for your professional development.
       Further, your ability to lead and mentor subordinates is not as effective if you must
       interact virtually or while remaining socially distanced.” While at AFIT, I have
       accomplished the Air Force’s mission as a junior grade officer. I have received and
       provided effective supervision and guidance in my duty. Others, who are not students,
       have successfully provided everything necessary for professional development virtually
       or with social distancing. Therefore, the least restrictive means to accommodate my
       exemption could simply be to grant the requested accommodation.



                                               HUNTER G DOSTER, 2D LT, USAF
                                               Student, AFIT/ENG



3 Attachments:
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1. Religious Accommodation Request
2. Exemption Denial
3. Chaplain Recommendation
4. Air Force Waiver Status Statistics
5. FPCON Delta Notification
6. Antibody Test
7. Gene Mutation Test
8. Doctor’s opinion on gene mutation and CV
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                         Air         Force




     DAF COVID-19 Statistics - Jan. 4, 2022
                



     Published Jan. 4, 2022
     Secretary of the Air Force Public Affairs

     WASHINGTON (AFNS) -- Below are current coronavirus disease 2019 statistics for Department of Air Force personnel:

     Jan. 4, 2022
     Current as of 2p.m., Jan. 3, 2022


                                            DAF TOTAL STATS*

                              CASES           HOSPITALIZED             RECOVERED         DEATHS

        Military               49,302                  24                   46,568            6

        Civilian               15,050                  23                   14,307           105

        Dependents             13,371                      4                12,921            8

        Contractors             4,359                      8                4,200            29

        Total                  82,082                  59                   77,996           148


     *These numbers include all of the cases that were reported since our last update on Dec. 21.




                                                 DAF TOTAL VACCINATED

                                              ACTIVE DUTY              GUARD       RESERVE        TOTAL FORCE

        % Partially Vaccinated                       0.2%              0.7%          0.7%            0.4%

        % Fully Vaccinated                          97.4%              91.7%         91.6%           95.4%




                                       DAF APPROVED EXEMPTIONS

                                  ACTIVE DUTY                  GUARD    RESERVE        TOTAL FORCE

        Medical                           842                   574          376             1,792

        Administrative                    103                  1,593         481             2,177




               RELIGIOUS ACCOMMODATION REQUESTS

                               MAJCOM/FLDCOM                     DAF/APPEALS

        Pending                           1,824                        129

        Approved                             0                          0

      Disapproved
    Skip                     2,213
         to main content (Press Enter).                                195



https://www.af.mil/News/Article-Display/Article/2831845/                                                                        1/2
                                              Case: 1:22-cv-00084-MWM Doc #: 8-4 Filed: 02/16/22 Page: 33 of 52 PAGEID #: 111

     *Civilian statistics
                    A i rareFunaccounted
                              orce       for.
     **These numbers are subject to change.




     Unvaccinated: All those who have verbally refused, have not started the vaccination process or are erroneously coded. Does not include
     those who have approved exemptions.

     Medical: Medical exemptions are determined individually by the member’s medical provider.

     Administrative: Administrative exemptions are determined individually. For example, if a member obtained a commander-approved
     submission for separation or retirement by Nov. 1, they are administratively exempt.

     Religious Accommodation: Religious accommodations are a subset of administrative exemptions and are determined by the
     MAJCOM/FLDCOM commanders. The DAF has 30 business days (active component in CONUS) to process requests. Appeals are
     determined by the DAF’s Surgeon General with inputs from the chaplain and staff judge advocate. Individuals do not have to get immunized
     as long as their request is in the process of being decided.

     Personnel Numbers (approximates):

     326,000 Active Component (U.S. Air Force and U.S. Space Force)
     107,000 Air National Guard
     68,000 Air Force Reserve
     501,000 Total Force (Active Duty, Air National Guard and Air Force Reserve)




     FEATURED NEWS

       Senior Leader Priorities                                   Innovation                                                   MAJCOM News                                               


       DAF to launch myEval in 2022                               Physician performs Air Force’s first airway stent procedure   F-15C Eagle Weapons School ends at Nellis AFB



       Edison Grants empower researchers in uniform               Travis AFB Airman’s innovation saves Air Force $10M,          ACC concludes ACE C3 operations rehearsal
                                                                  potential to save more


       CMSAF Bass visits West Africa                                                                                            AFIMSC announces 2022 I-WEPTAC topics, seeks working
                                                                  AFIMSC announces 2022 I-WEPTAC topics, seeks working          group volunteers
                                                                  group volunteers
       AFCLC launches new introduction to China, Russia courses
       with certificates on Culture Guide app                                                                                   AMC approves 4th KC-46A Pegasus ICR milestone
                                                                  Air Force announces Spark Tank 2022 semifinalists


       CSAF signs Agile Combat Employment doctrine note                                                                         Workshop unites digital-first experts on transformation
                                                                  Introducing BRAVO: A hackathon series for Air Force,
                                                                  industry




https://www.af.mil/News/Article-Display/Article/2831845/                                                                                                                                      2/2
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                                                                                  Hunter G35  ofUSAF
                                                                                           2d Lt 52 AETC
                                                                                                     PAGEID    #: 113
                                                                                                         AFIT/ENG

Regards to all,

Deji Badiru
7 January 2022
---------------------------------------------
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https://mail.afit.edu/owa/#viewmodel=ReadMessageltem&ltemlD=AAMkAGQzODQxY2U4LWU4MmUtNDdjNi05MzFjLTY3MWRjY2FIZDdlMQBGAAA...   2/5
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                                                 Living Waters Regenerative Medicine Center
                                                 103 Nightingale Ln
                                                 Gulf Breeze, FL 32561
                                                 850-934-8138



                                                                                              January 13, 2021



My name is Deborah D. Viglione, and I am a physician with a practice located in Gulf Breeze, Florida.
My C.V. is attached. I am familiar with, and was asked to medically evaluate Mr. Doster, in connection
with his receipt of currently-available COVID-19 vaccines. The opinions I render herein are based upon a
personal evaluation of Mr. Doster and a review of his complete medical history, as well as my education,
training and experience. They are rendered to a reasonable degree of medical certainty. Given Mr.
Doster’s medical history and prior COVID infection, vaccination with any of the COVID vaccines is
contraindicated.

Mr. Doster has recovered from natural infection and has a positive antibody test dated July 2021. The
preponderance of current and past research supports the robustness and longevity of natural immunity
verses passive immunity conferred by vaccination1,2,6,7,8,9,11,13. Natural infection, however, also places Mr.
Doster at an increased risk of adverse event from COVID vaccination. Current evidence acknowledges
that COVID vaccination after natural infection is associated with a greater number of adverse events5,10.
Therefore, COVID vaccination, at this time, puts him at greater risk of adverse event which negates any
positive benefit of vaccination.

Secondly, Mr. Doster has a genetic mutation that predisposes him to serious clotting and cardiovascular
events that may lead to stroke. In individuals with this mutation, any vaccination that elicits rapid
“demand for DNA synthesis”, such as the currently available mRNA vaccines, increases their clotting
and cardiovascular risk12. Currently, all COVID vaccines are associated with clotting dysregulation with
the Janssen and Pfizer vaccines having more documented clotting adverse events than other COVID
vaccines18,19,20,21,22,23. In light of this information, the risks of vaccination for Mr. Doster, exceed any
benefit, at this time.

Initial data, released by the CDC concerning the more recent Omicron variant, confirms that 79% of those
infected were fully vaccinated, 41% had received booster injections, and the only hospitalization was of a
fully vaccinated individual13. The report also indicates that infection with Omicron is generally mild and
has reduced quarantine restrictions to 5 days after confirmed infection26,27. The CDC also admits that the
current 2-dose vaccine effectiveness against Omicron is 35%, but a booster may return efficacy to 75%,
however, this conclusion seems unsupportable by current evidence, given that 41% of initial cases were
boosted which would render the booster much less effective than the purported 75% 13,14. In fact, a Danish
study determined that vaccine effectiveness against omicron was 55.2% and 36.7% for Pfizer and
Moderna, respectively15.

Another promised benefit of inoculation was the reduction in transmission of infection. In July 2021, the
CDC reported that COVID vaccination cannot protect against transmission of infection and, in agreement,
a recent Lancet study, similarly, found the rate of transmission of the vaccinated verses unvaccinated to
family members was 25% and 23%, respectively3,17. The vaccines also no longer protect against
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hospitalization or death as admitted by Dr. Anthony Fauci in an interview with The New York Times4,16.
Therefore, the purported purpose of mandated vaccines: to prevent illness, severity of disease,
hospitalization, and transmission, has not been met further accentuating the divide between risk verses
presumed benefit.

Every medical decision is made with full evaluation of the risks verses the benefits of the intervention.
After considering all the information currently available, it is my medical opinion that COVID
vaccination is unsafe and contraindicated for Hunter Doster and should be avoided.



Regards,



Deborah D. Viglione, MD
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        203772

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        086
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                        Deborah Doster Viglione, MD
                             Curriculum Vitae

103 Nightingale Lane
Gulf Breeze, Fl 32561
(850) 934-8138
(850) 934-6667


                               EDUCATION

HIGH SCHOOL                                     Canton High School
                                                Canton, Missouri
                                                HS Degree, 1978

UNDERGRADUATE                                   Atlantic Christian College
                                                (now Barton College)
                                                Wilson, North Carolina
                                                January 1978-May 1979

                                                Wake Forest University
                                                Winston-Salem, North Carolina
                                                Bachelor of Arts Biology 1981

MEDICAL SCHOOL                                  University of North Carolina
                                                Chapel Hill, North Carolina
                                                Medical Doctorate 1986

INTERNSHIP                                      Keesler USAF Medical Center
                                                Keesler AFB, Mississippi
                                                Internal Medicine Categorical
                                                July 1986-June 1987

RESIDENCY                                       Keesler USAF Medical Center
                                                Keesler AFB, Mississippi
                                                Internal Medicine Categorical
                                                July 1987-June 1989
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                                 MILITARY
                               United States Air Force
                               Reserve – 4 years 1982-1986
                               Active Duty – 1986-1993
                               Honorable Discharge 8/31/1993
                               Rank of Major


                       BOARD CERTIFICATION
                        American Board of Internal Medicine
                         September 13, 1989 (no expiration)
             American Academy of Anti-Aging Regenerative Medicine-2012
                             Stem Cell Fellowship 2012


                                LICENSURE
                              North Carolina #32311
                              Florida ME# 0065188
                              Previous: California #A0521
                        Tennessee – do not remember number


                        PRACTICE EXPERIENCE

                               AFSC Regional Hospital
                               SGHI Eglin AFB, Florida 32541
                               Staff Internist
                               July 1989 – July 1991

                               650th Medical Group
                               SGHI 10 Hospital Road
                               Edwards AFB, California 93524
                               Staff Internist
                               August 1991-August 1993

                               Medical Doctor Associates
                               3495 Holcomb Bridge Road
                               Norcross, Georgia 30092
                               Locum Tenens Work
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PRACTICE EXPERIENCE continued

                        Sierra Medical Group (part-time)
                        44469 N. 10th Street West
                        Lancaster, CA
                        FP, IM Urgent Care
                        September 1993-December 1993


                        Cabarrus Memorial Hospital
                        Quick Care – 920 Church Street North
                         Concord, North Carolina 28025
                        Locum Tenens
                        December 20, 1993- December 31, 1993
                        (Employed by: Medical Doctor Associates)

                        Medical Professional Agency, Inc
                        Scenic Highway Family Medicine Center
                        8105 Scenic Highway
                        Pensacola, Florida 32514
                        Part-time coverage in existing practice
                        January 7, 1994

                        Medical Professional Agency, Inc
                        14 West Jordan Suite B
                        Pensacola, Florida 32501
                        Part-time coverage existing practice
                        1994-1995

                        Medical Professional Agency, Inc
                        FirstPhysicians
                        Gulf Breeze Internal Medicine
                        1108 Gulf Breeze Parkway
                        Gulf Breeze, Florida 32561
                        Employed Physician
                        Internal Medicine
                        1994-2000

                        Watson Alternative Health and Weight Loss Center
                        5536 Stewart Street
                        Milton, Florida 32570
                        Medical Director
                        2006- July 29, 2008
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PRACTICE EXPERIENCE continued


                         Private Practice
                         Deborah D. Viglione, MD, LLC
                         Living Waters Regenerative Medicine Center
                         103 Nightingale Lane
                         Gulf Breeze, Florida 32561
                         2000- present
                         (850) 934-8138



                         EXPERIENCE/LEADERSHIP

                         HIV Coordinator, Eglin AFB 1989-1991
                         Attending Physician Family
                         Residency Eglin AFB 1989-1991

                         Deployed for Operation Desert Storm 1991

                         Infection Control Committee
                         Eglin AFB 1989-1991

                         Rabies Board Eglin AFB 1990-1991

                         Process Action Team (TQM)
                         Improving Hospital Appointment
                         System Eglin AFB 1989-1990

                         Laboratory Director
                         Edwards AFB 1991-1992

                        HIV Coordinator
                        Edwards AFB 1992-1993

                         Pharmacy and Therapeutics Committee
                         Edwards AFB 1991-1993

                         Formulary Committee (chair)
                         Edwards AFB 1991-1993
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                       Process Action Team (leader)
                       Improvement Prescription/Refill policy
                       Edwards AFB 1992

                       Chief of Immediate Disaster Response Team
                       Edwards AFB 1991-1993

                       Chief of Medicine – Gulf Breeze Hospital
                       1997-1999

                       MPA Board – 1996
                       FirstPhysicians Steering Committee
                       FirstPhysicians Vice President 1994-2000

                       Managed Care Committee (chair) 1997

                       Pharmacy and Therapeutics Committee
                       Baptist Hospital 1995

                       Secretary Medical Executive Committee
                       1999-2000

                       Assistant Chief of Staff Gulf Breeze Hospital
                       2000-2001

                       Chief of Staff Gulf Breeze Hospital
                       2001-2001

                       Member, Professional Functions
                       Committee Baptist Hospital 2001-2002

                       Nominating Committee Gulf Breeze
                       Gulf Breeze Hospital 2000-2001

                       Chief of Medicine Gulf Breeze Hospital
                       2004 – 2005

                       Science Advisory Board Member
                       Lifevantage – through 2017-2021
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                                  Panhandle Doctors for Truth
                                  Treasurer
                                  Organized Two Healthcare Freedom Rallies
                                  Oct 12, 2021 and Nov 9, 2021




                                           Publications

Ozone Preconditioning in Viral Disease; James A. Thorp, MD, K. E. Thorp, MD, Elise M. Thorp, BS, FNTP,
& Deborah D. Viglione, MD Virology Jan 2022 – In peer review currently

Novel therapy for COVID-19 does intravenous ozonated saline affect blood and tissue oxygenation?
Thorp JA*, Hollonbeck SA, Viglione DD, Green PC, Hodge JR, Tamburro JA, Tran TN and Glassman DS
Journal of Gynecological Research and Obstetrics

Fullerene - Photodynamic Therapy Effect on Oral Squamous Cell Carcinoma of the Tongue: A
Case Study. Deborah D Viglione and Daniel J Bourassa. EC Clinical and Medical Case Reports 3.11 (2020): 25-29.
2020


                     Professional Organizations Current

                 American Academy of Anti-aging Regenerative Medicine, Fellow
                        Florida Medical Association – reactivated 2021



                        Professional Organizations Past

                                  American College of Physicians
                                  American Medical Association
                                    Florida Medical Association
                         American Academy for Advancement of Medicine
                                     Escambia Medical Society
                                  Florida Physicians Association
                         Great Lakes College for Advancement of Medicine
                                  Society of Air Force Physicians
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               Community Leadership/Involvement

                     Premium Member Powerful Women of Gulf Coast
                        Member Gulf Breeze Chamber of Commerce

             Project Leader Operation Christmas Child Central Waterside Church
               Worship Leader Annually for Disciple Women of Alabama/NWFL
                      Preceptor for Medical, Nurse Practitioner Students
4 years participated with Lifevantage Legacy and Families Helping Families – Mission trips in
                                  Mexico – Building Houses


                                          Previous

                       Coached Little League baseball for 4 years
                               Girl Scout Leader for 6 years
              Worship Leader for 10 years First Christian Church Pensacola
                     Assistant Coach of youth basketball for 2 years
           Various Committee Participation and Chair at First Christian Church
                      Youth Group Co-leader First Christian Church
   Relay Center Coordinator for Operation Christmas Child – Samaritan’s Purse 10 years
    Helped set up Pediatric Hospital with University of South Alabama in Haiti – 2016
                      Founding Volunteer of Good Samaritan Clinic
                          Gulf Breeze High School Band Booster
